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  1 WHITE O' CONNOR FINK & BRENNER
        Lee S. Brenner
        Edward E. Weiman
        Tami Kameda (STATE
      10100 Santa Monica Boulevard , Twenty- Third Floor
      Los Angeles , California 90067- 4008
      Telephone: (310) 712- 6100
      FacsImile: (310) 712- 6199
      lbrenner whiteo. com
      eweiman whiteo. com
      tkameda whiteo. com
      Attorneys for Defendants Chris Rock
      EntelJ'rIses , Inc. , Home Box Office
      Inc. (erroneously sued as HBO Films Inc.
      Roadside Attractions LLC and Liddell
      Entertainment LLC


                              UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION


 14 REGINA KIMBELL , an individual                 CASE NO. CV09- 07249 DSF(Ex)
    d/b/a VIRGIN MOON
 15 ENTERTAINMENT                                  The Honorable Dale S. Fischer
                      Plaintiff                    NOTICE OF MOTION AND
                                                   MOTION OF DEFENDANTS
                                                   CHRIS ROCK ENTERPRISES,
                                                   INC., HOME BOX OFFICE, INC.,
 18 CHRIS ROCK , an individual                     ROADSIDE ATTRACTIONS LLC,
    CHRIS ROCK ENTERPRISES , INC.                  AND LIDDELL ENTERTAINMENT
 19 a                                              LLC FOR ATTORNEYS' FEES
    INC. , a Delaware
 20 ROADSIDE A                                     Date:             December 7 , 2009
     a California limited liability compan~;       Time:                 1 :30 p.
 21 LIDDELL ENTERTAINMENT LLL                      Crtrm. :          840


 23
     A California limited liability company,
 22                                                Action Filed: October 5                 2009
                                                   Trial Date:
                                                   (Declaration of Lee              S.   Brenner and
                                                    (Proposed) Order filed
                                                    herewith




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  1 TO PLAINTIFF
                PLEASE TAKE NOTICE that on December 7 , 2009 , at 1                     , or as soon
      thereafter as the parties may be heard , before the Honorable Dale S. Fischer , United
      States District Judge , in Courtroom 840 located at the Roybal Federal Building, 255
      East Temple Street , Los Angeles , CA 90012 , defendants Chris Rock Enterprises
  6 Inc. , Home Box Office , Inc. (erroneously sued as HBO Films , Inc. ), Roadside
      Attractions LLC and Liddell Entertainment LLC (collectively, " Defendants ) will
      and hereby do move this Court for an order granting Defendants their reasonable
  9 attorneys '    fees and costs in the amount of $ 80, 000 , pursuant to Section 505 of the
 10
 11 Defendants '     actual fees and costs were well over $80 000 to oppose the meritless
 12 " emergency " application for a temporary restraining order and motion for a
 13                                                                   Plaintiff' ).   In particular

 14 Defendants '     fees and costs exceeded $ 35    000 in connection with Plaintiffs

 15                                                                  , Defendants incurred in
 16                     000 in fees and costs in connection with
 17
 18
 19                                                                                         ' fees
 20                                                                                             ' fees
 21
 22
 23
 24
 25
 26
 27
                                                                                , the

                                                                   , and the Declaration of Lee
 28
      246428.   doc , all filed concurrently herewith; the pleadings and papers on file in this

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     action; and upon such other oral argument and/or documentary matters as may be
     presented to this Court at or before the hearing of this Motion.
              This Motion is made following the conference of counsel pursuant to Local
     Rule 7- , which conference was held on October 30 2009.


  6 DATED:                    , 2009 WHITE O' CONNOR FINK & BRENNER
                                     Lee S. Brenner
                                    Edward E. Weiman
                                    Tami Kameda

                                            /s/ Lee S. Brenner
                                            Lee S. Brenner
                                    Attorneys for Defendants Chris Rock Enterprises
                                    Inc. , Home Box Office , Inc. , Liddell Entertainment
                                    LLC, and Roadside Attractions LLC




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 11    Burlin
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 13    Diamo
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                                            , Inc.

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 19    Ford Motor Co.




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 23
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 25                             ~8F              d31' (5fhecir -r9/8).'::. :~~' :................................................................. 7
 26    Kerr           v.    Screen Guild Extras , Inc.
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 10   Mora 1
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 12   Oviatt




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 13

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 15                     l~e F1t~D.                       625                             199Af)~'
 16   Thompson                 Gomez  v.

                        45 F.3d 1365 (9th Cir. 1995).............................................................................

 18   Van Gerwen




      W ats0
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                                            3d 1041 (9th Cir. 20(0).........................................................................
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                    300               ~~3 di7)2                  ~~he      Ctf.1002)




 21
 22
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      Yankee Candle Co" Inc.
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                       MEMORANDUM OF POINTS AND AUTHORITIES


                                                      INTRODUCTION
              Defendants Chris Rock Enterprises , Inc. , Home Box Office, Inc. (erroneously
      sued as HBO Films , Inc. ), Roadside Attractions LLC and Liddell Entertainment
  6 LLC                           Defendants ) respectfully request an award of attorneys
      fees pursuant to Section 505 of the Copyright Act and Rule 54(d) of the Federal
      Rules of Civil Procedure. Under well-settled Supreme Court and
      the Court has discretion to award Defendants their attorneys ' fees. By way of this
 10 motion , Defendants are       not         asking for      all   of their fees and costs in connection with
 11                                                                                                 Plaintiff'
 12 They

 13                                 portion              of the fees and costs which she forced Defendants
 14 to                   000 in connection with Plaintiffs meritless application for a
 15                                                         000 in connection with Plaintiffs unreasonable


 17
 16 motion

                                                                                                emergency
 18                                                 ,1
                                                                                               My Nappy

 19   Roots    and Defendants     Good Hair                - did not

 20
 21 them

 22 I I


      1 As                                              had been publicly shown as early as January
                                   Good Hair

 25                                                 Good Hair s planned theatrical release since August
 26                                                                                                Good Hair
      release before seeking " emergency " injunctive relief. Cast in its most
 27 light , the good faith of

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                  Finding that the two works were not substantially similar even on the basis of
      Plaintiff s own allegations , the Court denied
      restraining order and " strongly suggest(edJ" to Plaintiff that she was not entitled to a
      preliminary injunction. Nevertheless , Plaintiff forced Defendants to spend in excess
      of $45 000 to oppose Plaintiffs motion for a preliminary
      little to no effort to support her own motion , but did find time to issue four (4) press
      releases to publicize her lawsuit and allegations , and her own documentary.
                  After undertaking its own review of the two movies , the Court denied
      Plaintiff s request for a preliminary injunction , expressly finding that the two works
 10 were " not substantively similar in terms of their ' theme ,                   plot , sequence of events
 11 characters , dialogue , setting, mood and pace. ",                                  , Order Denying
 12
 13                                                                                           , Ex. A , Hearing
 14                                17. In response , Plaintiff quickly dismissed her copyright
 15
                  The Copyright Act and the applicable law supports requiring Plaintiff to
 17                                                       ' fees. Otherwise , there would be no
 18                                                         emergency " complaints and motions in
 19                                                         , the Court had cautioned Plaintiff
 20                                                                                          , but Plaintiff
 21
 22
 23
 24 attorneys ' fees in the amount of $80 000.
                                                 , Defendants respectfully request reasonable




 26                                ' fees and costs is attached to the Declaration of LeeS.
 27 Brenner
            , filed concurrently herewith. The calculation of the requested fee is
      forth in the Brenner Decl.           See   Brenner Decl.   , Ex. F;   see also infra      Section IV.
 28
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                                                                                   II.
                                                      FACTUAL BACKGROUND
      A.       Plaintiff Intentionallv Delavs Seekin2 Iniunctive Relief
               Plaintiff allegedly completed her documentary,                                            My Nappy Roots in early
      2006. Dkt No. 20 ,               Plaintiffs App. at                                                                        , and as
      Plaintiff admitted , Defendants                        ' motion picture                Good Hair          has been publicly shown
      over nine (9) months ago at the January 2009 Sundance Film Festival.
      Order Denying Plaintiff s Application for a TRO at                                                 see also   Compl. ~ 21; Dkt
      No. 20 , Kimbell Decl. ~
               Months ago ,            in August of2009 , Plaintiff saw a trailer for Defendants ' film
 11   Good Hair          at which point she came to the conclusion that " (ChrisJ Rock was
 12
 13   Nappy Roots.              Dkt No. 20 , Plaintiffs App. at 4:22- 24.                                   Indeed , the   Good Hair

 14                                                                                                                         , including the
 15                                         , celebrity interviews , relaxer , and hair transported from India
 16 among                                 Id. Kimbell Decl. , Ex. 4A , Trailer. Shortly thereafter , Plaintiff
 17                                                                                          , 2009 (over three years after she
 18
 19
 20
 21
                                                  Id. Kimbell Decl. ~                                    , Plaintiff waited.


                                                                                                                           , Plaintiff
 22                                                                                         emergency "        relief. In particular

 23                                            ex               relief from the Court until the afternoon of October
 24        2009 , less than three (3                ) days before               Good Hair           s scheduled theatrical release


 26
    attorneys ' fees motion                   see Thompson                 v.     Gomez         45 F.3d 1365 ,      1366 (9th Cir. 1995),
 27

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       date.         See    Dkt No. 20 , Plaintiffs App. at                                                                         2009
       Plaintiff first gave notice of her " emergency " application for temporary restraining
   3 order ,          expedited discovery, and a preliminary injunction (collectively, the
   4 " Application               ), to which Defendants were required to respond within twenty- four
       (24) hours.             Id.
                      In her Application             , Plaintiff sought to prevent the release of                           Good Hair. See

   7 Dkt                       , Plaintiffs App.                                                                                 , Plaintiff
       repeatedly            stressed that being granted injunctive relief was of vital importance in
       bringing this action.                  Id.    at 1:25-             15:17- 19; Compl. ~~ 76- 77.
                     The Court Denies Plaintiff's Application for a TRO
  11   B.



                                            , 2009 , the Court denied                                                              See   Dkt


  13
  12 No. 21 ,



  14
                           Order Denying TRO. As the Court explained:

                  public release since at least August 2009. (Appl. at 4
            Nevertheless , Plaintiff makes tfiis request a mere four days
                  before Good Hair is set to be released in theaters.
                                                                                          (Good Hair s J



                                Plaintiffs eleventh
                                event lacks merit. For both of these reasons ,                                 the request is
                                DENIED.


  18
  17 Dkt


  19
                               , Order Denying TRO at

                                allegedly similar elements arise in the movies , but based
                                                                           , it is clear the
                                movies are not substantively similar in terms of their
                                                                                                    , the Court emphasized:




                                 theme , plot , sequence of events , characters , dialogue
                                setting, mood and pace.

 22 Dkt                        , Order Denying TRO at 6. Finally, while the Court permitted Plaintiff to
 23                                                                                                    , the Court expressly cautioned
 24                               (herJ own allegations in this application                              strongly suggest       she will be
 25 I I
 26 I I
 27 I I
 28 I I
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       unable to establish that she is entitled to a preliminary injunction.                                Id.   (emphasis
  2 added).

                  Plaintiff Makes Little To No Effort To Support Her Motion For A
                  Preliminarv Iniunction, But Makes An Enormous Effort To Issue
                  Releases Re2ardin2 Her Claims And Her Film
                  Notwithstanding the Court' s strong caution about proceeding with her motion
       for a preliminary injunction , Plaintiff moved forward , but submitted only a three (3)
       page supplemental brief in support of her request and some evidentiary objections.
       See   Dkt No. 30 ,    Plaintiff s Supplemental Brief.
 10                                                                                           Id.         At the same time
 11                                                                           000 in additional fees and costs in
 12
 13
  14                               , Plaintiff       did    have time , between October 6 and October 19
  15 2009 , to issue four (4) separate press releases regarding this litigation. Brenner
  16                      , C, D & E,   Plaintiffs Press
  17                                                       , as her supplemental brief.             Id.     Moreover
  18 Plaintiff
  19
 20 of                   See, e. g., Id. Ex. D , Plaintiffs October 12 2009 Press Release (not


       3 Plaintiff had requested " expedited discovery " for the ostensible purpose of having
 23            provide a declaration in support of                             Dkt No. 20                 See



 24                       14. Thus , in connection with
    preliminary injunction                                             Good Hair
                                   , the Court ordered that Defendants make

 25                                             , Order Denying TRO at 6. However , no
 26                      , and Plaintiff never submitted any declaration of an " expert.
        Dkt No. 30 , Plaintiffs
       See                                                   , Plaintiff submitted only a
 27                                                                        Id.


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      mentioning denial ofTRO , but providing a detailed description of
      documentary).
                The Court Denies Plaintiff's Request For A Preliminary Iniunction And,
                In   Response, Plaintiff Ouicklv Dismisses Her
                In connection with Plaintiffs motion for a preliminary
      stated:
                        fAJfter reviewing (Plaintiffs and the Defendants ' filmsJ,
                          m even more convinced of the correctness of my
                        decision with regard to the TRO. I am not inclined to
                        grant a preliminary injunction(.
                         . .. (,-rJ The issue is
                        something that' s copyrightaole , and there is . . . less
                        consistency. . .
                        based on the chart that (Plaintiff! gave me , which wasn
                        enough in itself.                               , as I was
                        watcIiing the film , Just got crossed out because they
                        weren t similar at all once one looked at the film.

 14                           , Ex. A , Hearing Transcript at 3:20-                           5:13- 20.   As such ,   the Court
 15                   (bJased on the evidence submitted by the Parties , and also on the Court'
 16 own                                            , it is clear the movies are not substantively similar in
 17                           theme , plot , sequence of events , characters , dialogue , setting, mood
 18 and                 See     Dkt No. 32 , Order Denying Preliminary Injunction at 3. The Court
 19
 20
 21 Dkt
                                         , Plaintiff dismissed her Complaint against Defendants,



                      , Plaintiffs Notice of Dismissal , dated October 21 , 2009. Plaintiff has
                                                                                                   Id.
                                                                                                                              See


 22                                                     ' fees or costs associated with her dismissed
 23
 24 I
 25 I I
 26 I I
 27 I I
 28 I I
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                                                                                     III.
          DEFENDANTS ARE ENTITLED TO ATTORNEYS' FEES PURSUANT TO
                                                           THE COPYRIGHT ACT
                   Governin2 Standards For Attorneys ' Fees Under The COpyri2ht Act
                   The Copyright Act of 1976 provides that in any copyright infringement
      6 action         the court may. . .                                                              s fee to the prevailing party,
        17 U. C. ~ 505. "' (EJxceptional circumstances ' are not a prerequisite to an award
        of attorneys ' fees; district courts may freely award fees , as long as they treat
        prevailing plaintiffs and prevailing defendants alike and seek to promote the
  10                                 s objectives.          Historical Research                 v,   Cabral 80 F.3d 377 378 (9th
  11                            see also Hogan Sys.            , Inc,         v,    Cybresource Int ' , Inc. 158 F. 3d 319
  12 325                                                                            ' fees in copyright cases " are the rule rather
  13                                                                                                 ) (citation omitted).
  14
  15                                                                                                                  ' fees in this
  16                  Fogerty            v,   Fantasy, Inc. 510 U. S. 517 , 534 (1994). The United


  18
  17 Supreme

                                 enriching tile general public through access to creative
                                 works , it is peculiarly important tnat the boundaries of
                                 copyright law be demarcated as clearly as possible. To
                                                                                                              , as follows:




                                 that ena , defendants who seek to advance a variety of
                                 meritorious copyright defenses should be encouraged to
                                 litigate them to the same extent that plaintiffs are
                                 encouraged to litigate meritorious claims of infringement.
                                 . . . Thus a successful                  defense       of a cOQ)'right
                                 action may further the policies of the Copyright Act every
                                 bit as much as a successful prosecution of an infringement
                                 claim by the holder of a copyright.

 25     Id.   at 527 (emphasis added);                     see also id.              at 535 (discretion in granting attorneys
 26                                applied to prevailing plaintiffs and defendants in an evenhanded
 27 manner
 28 / /
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                   In keeping with the foregoing, the Ninth Circuit has identified the following
       factors which should be considered in deciding whether to award the prevailing
       party in a copyright action its attorneys ' fees: (1) degree of success
       objective reasonableness of factual and legal arguments; (3) frivolousness; (4)
       motivation; and (5) need to advance considerations of compensation and deterrence.
       Maljack Prods" Inc.                          v,   GoodTimes Home Video Corp. 81 F. 3d 881 890 (9th Cir.
       1996).
       B.          Defendants Should Be Awarded Their Attorneys ' Fees
                                 Defendants Obtained Complete Success                                 In   This Action
                   Plaintiff sought , on two separate occasions , to prevent Defendants from
  11                      Good Hair                 on its scheduled release date. The Court denied both requests
  12
  13
  14                                                                                  , and reviewing the Court' s Opinion finding
  15
  16                                                4 As a result , Defendants secured complete relief in this action

  17   both during the pendency of the action itself, and as a result of Plaintiff s dismissal.


  19   that Defendants achieved. In                              Watson          v.   Country of Rivers ide      300 F.3d 1029 ,   1094
 20                                     , the Ninth Circuit concluded that the plaintiff
                              a preliminary injunction , was the " prevailing party, " even
                                    granted
 21 who
       though defendants were later granted summary judgment in the case.           (plaintiff                          Id.

 22 " obtained significant , court-ordered relief that accomplished one of the main
 23                            ). Here                                  of their objectives
                                                                    , Defendants accomplished              all


       including the denial of Plaintiff s        application and request for preliminary
                                                                          ex parte

 24 injunction                         Good Hair and the dismissal of the Complaint. If
                             , the timely release of


           Watson the granting of a preliminary injunction renders a plaintiff the
 25 prevailing party, then the denial of a preliminary injunction should make Defendants
 26
 27 Court' s pronouncement that prevailing defendants and prevailing plaintiffs are to be
       treated equally.                  Fogerty,          510 U. S. at 534.

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                                    Plaintiff's Copvri2ht Claim Was Both Obiectivelv Unreasonable
                                    And Frivolous
                     In order to merit an award of attorneys ' fees , it is enough that the moving
       party demonstrate that non-moving party s claim was objectively unreasonable.
       Williams            v,    Crichton 891 F. Supp. 120 , 121- 22 (S.                                     Y. 1994);       Adsani    v,   Miller
       PMA No. 94 CIV. 9131 (DLC), 1996 U. S. Dist. LEXIS 13740 , at *41- 52 (S.
       Sept. 19 ,          1996);          Arclightz and Films Pvt. Ltd.                       v,    Video Palace , Inc"          No. 01 Civ.
       10135 (SAS), 2003 U. S.                             Dist. LEXIS 19086 , at *24 (S.                            Y. Oct. 24 2003). The
       moving party may satisfy its burden in this regard (as to a claim which is either
  10                                                        or   otherwise frivolous) by demonstrating that the claim


  12
  11
                                    unprotectable elements , rather than similarity of
                                    protectable expression; or
                                    (b) the claim is based on " highly selective , scattered
                                    details '" or
                                    ( c)


  17   Adsani 1996 U. S. Dist. LEXIS 13740 at *47-                                             51;    Williams      891 F. Supp. at 122;

  18   Maljack 81 F. 3d at 884 890.
                     Plaintiffs claim suffered                                                                              , Plaintiffs
 20 was
 21               Good Hair.                The Court concluded as much in response to
 22                                                                                                        See    Brenner Decl. , Ex. A
 23                                                                   5:13-   20;   see also         Dkt No. 21 ,        Order 10/08/09 at 6;
 24 Dkt                         , Order 10/19/09 at 3. Plaintiff, however , made no effort to satisfy the
 25
 26                                                                    2009 Order , the Court emphasized that Plaintiff had
 27 failed , once again , to " explain why the allegedly similar aspects are protectable , as
 28 / /
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        required for copyright analysis. "                Dkt No. 32 , Order 10/19/09 at 3 (citing                        Funky
        Films     v,     Time Warner Entm ' t Co" L.P"             462 F. 3d 1072 1077 (9th Cir. 2006)).
      3 Second , Plaintiff attempted to base her claim on a list of random similarities
        between the works at issue. Again , the Court confirmed as much in its October 8
        2009 Order , in which the Court held that Plaintiff failed to " explain the context in
        which (herJ allegedly similar elements arise in the movies(. J"                                       Dkt No. 21 ,   Order
      7 10/08/09 ,          at 6. In its October 19 , 2009 , Order denying
        preliminary injunction , the Court reiterated that Plaintiff failed to organize her
        similarities in the context of the two " movies ' themes , plots , sequence of events
  10 characters , dialogue , setting, mood , and pace. "                         Dkt No. 32 ,               Order 10/19/09 , at 3.
  11                                            , Plaintiff made no effort whatsoever to conduct an
  12
                 Finally, the majority of
  14 any                                                                                         contrary        to the works
  15
  16                              dis similar. As the Court found , the works were not substantially
  17
                  In addition to these flaws in Plaintiff s claim , her persistence in seeking a
  19
 20                                                  , fatal defects in her claim that were identified by the
 21                                                                     , was objectively unreasonable.                      See



 22 II.         supra.            Plaintiffs refusal to

 23 make
 24
                                  Plaintiff's Improper Motive
                There is no question that a party s litigation tactics may provide evidence of
 27                                                                                                    Milton H Greene
 28     Archives         , Inc,    v,   Julien s Auction House     , LLC,      No. CV 05- 7686 AHM (FMOx),
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       1 2007 U. S.              Dist. LEXIS 96378 , at * 14 (C. D. Cal. Dec. 20                            , 2007) (citing            Yankee
          Candle Co" Inc.                      v,    Bridgewater Candle Co" LLC               140 F. Supp. 2d 111                      118 (D,

         Mass. 2001),                  aff'          259 F.3d 25 (1st Cir. 2001)). For example , a plaintiff may
         clearly be operating under an improper motive where it forces a defendant into
         expensive litigation , despite having " access to sophisticated counsel who could have
         determined that (PlaintiffsJ suit was
         Mattei         , Inc,    v,    Walking Mt, Prods.               No. CV 99- 8543 RSWL (RZx), 2004 U. S. Dist.
       8 LEXIS 12469 , at *7 (C. D.                            Cal. June 21    2004);   see also Berry                 v.     Hawaiian Express
         Serv"       No. 03- 00385                    SOM- LEK , 2006 U. S. Dist. LEXIS 87748 , at *40 (D. Haw.
  10                    , 2006) (" Plaintiff s pursuit of his copyright claims. . . in
  11                                                           , is a strong indication that he had an improper
  12 motivation.
  13 Here , Plaintiff s litigation strategy is clear evidence of an improper motive.
  14 As                                             , Plaintiff s claim was manifestly unsupportable under copyright
  15                                                 , Plaintiff nonetheless purposefully delayed seeking " emergency
  16 inj                                                                                , and then coupled her litigation
  17
  18                                     See         ~ II.A.    supra.   In doing so , Plaintiff forced Defendants to devote
  19 an                                                                                              ex                     application and her
  20      request for preliminary inj unction , all within a few short weeks. In the process


  22                                       , it is not necessary that Defendants
     demonstrate improper motive for an award of attorneys            Maljack Prods. , Inc"               ' fees.

  23     3d at 890. To the contrary, courts                            ' fees even where it
  24                       with sufficient certainty whether (the plaintiff) had an
          improper motive for pursuing his copyright claims.                          No.          Love         v,   Mail on Sunday,

  25 CV 05- 7798 ABC (PJWx), 2007 U. S. Dist. LEXIS 97061 , at *16 (C. D.                                                              Cal. Sept. 7

  26                     see also Maljack Prods" Inc. 81 F.3d at 890 (finding no bad faith , but
          awarding fees where other factors support an award);                                     Diamond Star Bldg. Corp.

  27
          Freed           30 F. 3d 503 (4th Cir. 1994) (same).


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        Plaintiff and her counsel pursued a request for preliminary injunction knowing that
        Defendants would spend additional resources on the effort                                     , and    knowing         that
        Plaintiff was not going to put                       any   effort into remedying the multitude of defects that
        the Court identified with her copyright claim.
      5 Instead , it appears that Plaintiff focused more on using her lawsuit and request
        for injunctive relief to garner publicity for                            her    documentary. Plaintiff and her
        counsel devoted significantly more ink to their four separate press releases on this
        lawsuit than they devoted to Plaintiff s three (3) page supplemental brief in support
        of her request for a preliminary injunction. Immediately after the Court denied her
 10                                                                 , Plaintiff issued yet       another        press release (this
 11 time ,         claiming that she supposedly " always knew that it would be tough getting the
 12 judge                                                                          , Ex. E.
 13                                                     , Plaintiff and her counsel' s litigation strategy was designed
  14 to
  15 Plaintiff
  16                                                      ' fees , Plaintiffs
                                Awardin2 The Defendants ' Attornevs ' Fees Will Deter The
                                Of Manifestlv Unreasonable Copvri2ht Infrin2ement Claims
                    Courts have acknowledged that an award of attorneys ' fees to prevailing
 20                                                        need. . . to deter (a
 21                                                     Love 2007 U. S. Dist. LEXIS 97061 at *16-                        17;   accord
 22      Maljack 81 F. 3d at 890. Here , as detailed above , Plaintiffs claim
 23                                            , Plaintiffs application was untimely on its face. Second
 24
 25 by
 26                                                     , Plaintiff continued to waste the time and resources of both
 27                                                                                                , without advancing                any
 28 new arguments ,                      despite being given the opportunity to do so. Two days after the
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       Court denied her request for preliminary injunction , Plaintiff simply dismissed her
       claim.
                   In the interest of deterring Plaintiff, and others like her , from advancing
       similarly meritless " emergency " requests for injunctive relief, Plaintiff should be
       held responsible for at least a portion of Defendants ' attorneys ' fees. Otherwise
       there will be no disincentive for plaintiffs to file such frivolous motions,
                   Awardin2 Attorneys ' Fees To Defendants



 10
       9"          COpyri2ht Act
                    The primary objective of copyright is . . . ' (tJo promote the Progress of
                                        ' To this end , copyright assures authors the right to their
 11                             , but encourages others to build freely upon the ideas and
 12                                                          Fogerty,                510 U. S. at 527 (quoting        Feist Publ'
 13    Inc,   v,   Rural                       499 U. S. 340 ,                     349- 50   (1991)). The nonprotection of

  14               is the means by which copyright advances the progress of science and art.
  15   Feist Publ'         , Inc. 499 U. S. at 350. Because copyright law enriches the
  16                                                                     , these " boundaries             of copyright law (must

  17 be                                                                 Fogerty,          510 U. S. at 527.
                   As set forth above , Defendants ' successful defense of this action furthered the
  19
 20
 21                     , generic formats , and elements , and the Court agreed. Dkt No. 32 , Order
 22                                                                      , awarding the Defendants their attorneys
 23
                                                                            IV.
                   UNDER THE LODESTAR APPROACH~ THE DEFENDANTS ARE
               ENTITLED TO ATTORNEYS' FEES IN THE AMOUNT OF $80~ OOO
                   In the Ninth Circuit , courts use the " lodestar approach" to calculate the
 28                              ' fees awards under federal fee-shifting statutes.                                 Staton



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         Boeing Co. 327 F. 3d                           938 , 965 (9th Cir. 2003). Under this approach , the lodestar is
         calculated by " multiplying the number of hours the prevailing party reasonably
         expended on the litigation by a reasonably hourly rate.                                                      Morales                v,   City of San
         Rafael 96 F. 3d 359 , 363 (9th Cir.
                      In determining the number of reasonable hours and the reasonable hourly
       6 rate   , the following                  Kerr      factors guide the court:

                    (1) the time and labor reguired , (2) the novelty and difficulty of the
                    questions involved , (3) tile skill requisite to perform the legal service
                    properly, (4) the preclusion of other employment by the attorney due to
                    acceptance of the case (5) the customary fee , (6) whether the fee is
                    fixed or contingent , (7) time limitations imposed by the client or the
                    circumstances , (8) the amount involved and the results obtained , (9) the
                    experience ~ reputation , and ability of the attorneys , (10) the
                     undesirabIlity " of the case " (11) the nature and length of the
                    professional relationship wIth the client , and (12) awards in similar
                    cases.

  13     Morales 96 F.3d at 363-                                64 (citing          Kerr          v,   Screen Guild Extras , Inc. 526 F. 2d                     67

  14 70                                             see also McGrath                        v,        County of Nevada 67 F.3d 248 252 (9th
  15
  16                                                                                                         , courts typically use the " prevailing
  17
  18                                                                           Gates             v.    Deukmejian 987 F. 2d                  1392 , 1405 (9th

  19                                                                                                           generally considered" in
 20                                                                                                                                   Van Gerwen



          Guarantee Mut, Life                                     214 F.3d 1041 ,                      1046 (9th Cir. 2000).
  22
 21




  23
                                                                     ' fees includes the work of associate attorneys and
                                  , such as paralegals because their " labor contributes to the work
  24                               Emanuele                v,     Montgomery Ward                            Co. , Inc. 904 F. 2d 1379 1387 (9th
  25                                                                                                                            Burlington           v,   Dague
  26                  S. 557 (1992). Such fees also                                                        out-of- pocket expenses , including
  27 travel , telephone , mailing, copying and computerized legal research expenses. Sure
  28     Safe Indus. ,            Inc,        v, C &       R Pier Mfg.,                    152 F.          D. 625 626 (S.        D. Cal. 1993);            see also
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                                                                                                                                  ,"
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         Ford Motor Co,                 v,     Kuan Tong Indus,                                   697 F. Supp. 1108 ,   1110 (N. D.    Cal.

         1987) (same).

                     After calculating the lodestar , if circumstances warrant the district court may
         adjust the lodestar on the basis of                            Kerr            factors that are not already subsumed within
         it.       Morales 96 F.3d at 363-                 64;    McGrath 67 F.3d at 252. There is , however
         strong presumption that the lodestar figure is reasonable , and adjustments are to be
         adopted only in exceptional cases.                                    Oviatt       v,   Pearce 954 F. 2d   1470 , 1482 (9th Cir.

          1992);      see also Morales 96 F. 3d at 363 (lodestar figure is " presumptively
       9 reasonable

                      In this case , counsel for the Defendants have reasonably expended over 310
  11
  12
  13     See       Brenner Decl. at ~
  14 things , legal research on Plaintiff s copyright claim , factual investigation
  15                                              , researching and drafting Defendants ' Opposition to
  16 Plaintiff                                    , researching and drafting Defendants ' supplemental brief in
  17                                                                                                          , corresponding with
  18                                                         , drafting declarations , gathering exhibits , and
  19                                                                                                                                   See
  20
  21
  22
                                   , Ex. F.
                                                                                    ' counsel is a blended rate of$350 per hour
                                      , partners and associates alike , and $105 per hour for paralegals.
  23                                                                                                       , much less than the
  24                                             , and thus is a reasonable hourly rate.                      See id. ; see also Love



  26
     incurred for the preparation of the instant motion , or for other services performed in
  27                                      ~ 12.                   Id.




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   1 2007 U. S.      Dist. LEXIS at *25 (awarding copyright attorneys ' fees based upon inter
       alia a partner rate of$690 per hour , a junior associate rate of$305 per hour , and a
       senior paralegal rate of $245 per hour because " (tJhese rates are consistent with the
       rates typically charged by other highly-regarded southern California law firms for
       similar work"
                Moreover , the quality and experience of Defendants ' counsel amply
       demonstrate that the requested rate is more than reasonable. Lee S. Brenner is a
   8 named                                   Connor Fink & Brenner LLP ,        serving as counsel for
   9 individuals ,     television networks , production companies , corporations and
  10                                      , employment , media and entertainment lawsuits. Brenner
  11 Decl. ,-r 8.
  12 in                                                                                 Id.   Mr. Brenner has

  13
  14                                                             Id.
                                                                       ,-r 9.
  15                                             Connor Fink & Brenner LLP ,       representing major film
  16 and                                                                               , idea submission
  17                                                                                                  house
  18
  19                 Id.   ,-r
                                 10. Thus , counsels ' requested rate should be used to calculate the
 20
                Counsels ' hourly rate multiplied by the reasonable hours incurred comes to a
 22                         960. Brenner Decl.
 23                                             , by using counsel' s discounted rates , the lodestar
 24                                                                      ' fees that should not be further
 25                              , Defendants are entitled to an award of $80 000 , which is less than
 26
 27 I I
 28 I I
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                                          CONCLUSION

              For the reasons set forth above , Defendants respectfully request that the Court
     award them $80 000 in reasonable attorneys ' fees and costs pursuant to Section 505
     of the Copyright Act and Rule 54 of the Federal Rules of Civil Procedure.
     DATED: November 4 , 2009 WHITE O' CONNOR FINK & BRENNER
                              Lee S. Brenner
                                     Edward E. Weiman
                                     Tami Kameda

                                             /s/ Lee S. Brenner
                                             Lee S. Brenner
                                     Attorneys for Defendants Chris Rock Enterprises
                                     Inc. , Home Box Office , Inc. , Liddell Entertainment
                                     LLC , and Roadside Attractions LLC




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